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DEPARTMENT OF
C O RRECT| ON Joseph Ponte, Commissioner

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FOCUS ON EQUITY

DOC is committed to enhancing safety, improving jail conditions and promoting
better reentry outcomes for inmates, which advances equity for all New Yorkers.
For the past two years, the DOC has been undertaking a shift in culture, guided
by a transformative 14-point Anti-Violence Reform Agenda, which seeks to reduce
jail violence, increase safety for and better address the needs of staff and inmates
and improve long-term inmate outcomes. In support of this agenda, the DOC
tailors housing, staffing and programming to the age-, gender- and health-specific
needs of the unique populations in custody. The Department is restructuring
housing to ensure improved safety, offer alternatives to punitive segregation and
ensure age-appropriate services. Employing enhanced and amplified recruitment
efforts, DOC has also been securing improved staffing levels for each housing
area to ensure better staff to inmate ratios and appropriate staffing for intensive
programming efforts. The past three graduating classes of the DOC Academy have
been the largest in history, with over 700 graduates in the most recent class. The
Department is also implementing targeted training efforts including Mental Health
First Aid to provide officers with the skills needed to better identify and address the
needs of unique populations. By moving away from one-size-fits-all responses and
offering targeted training and services to DOC staff and inmates, the Department
is successfully reducing serious violence in its restart areas and better meeting the
needs of those in DOC custody.

OUR SERVICES AND GOALS

SERVICE 1

 

Provide a safe and secure environment for inmates, staff
and host communities.

Goal 1a Ensure the security and safety of inmates in DOC custody.
Goal 1b Ensure that use of force is authorized and appropriate.
Goal 1c Provide inmates with timely access to health services.

Goal 1d Maximize bed capacity and address cell maintenance and repairs in
a timely manner.

Goal 1e Ensure timely transport of inmates to courts throughout the City.
SERVICE 2

 

Prepare inmates for return to their neighborhoods as civil
and contributing members.

Goal 2a Prepare as many inmates as possible for successful release through
participation in skills-building programs including educational
opportunities, jobs training, behavioral interventions and mental
health services.

Goal 2b Reduce idleness by increasing inmate participation in mandated and
other programs, services and activities.

 

SERVICE 3 Provide correction-related services and information to the
public.
Goal 3a Provide timely notifications to crime victims.

 

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HOW WE PERFORMED

e |n order to enhance safety for both staff and inmates, DOC has continued to roll out reforms and trainings to improve
responses to maladaptive behavior through crisis management and de-escalation. Through training in Mental Health
First Aid, Cognitive Behavioral Therapy, Dialectical Behavior Therapy and other interventions, Correctional Officers
working with special populations are now better equipped to respond to incidents. Through targeted training, the
Department has achieved improved staff-inmate interactions in terms of crisis management, de-escalation, conflict
resolution and general communication. These have combined to stabilize inmate assaults on staff, as the number and
rate of assaults on staff remained unchanged at 341 and 8.8 per 1,000 ADP, respectively, during the first four months
of Fiscal 2017.

e While inmate assaults on staff have stabilized, jail-based arrests of inmates increased by three percent from last year. The
Department is committed to disciplining inmates who assault staff members and pursuing their arrest and prosecution
by the District Attorney. The most common reasons for jail-based arrests of inmates involved possession of contraband
and assaults on staff. While searches continued to drop (by eight percent), the effectiveness of searches continues to
improve, with 43 percent more weapons recovered than in the same timeframe last year. The Department has been
working to address the smuggling of contraband by both inmates and visitors through the addition of new surveillance
cameras, improved technology and heightened front gate procedures including more searches and new search tactics.
In particular, the use of contraband detectors for inmate searches as well as the use of more canine searches for both
visitor and inmate searches have contributed to a higher contraband recovery rate. However, the detection of small
blades and other hard-to-find weapons can best be accomplished through the utilization of body scanner technology,
which currently remains prohibited for non-medical use by New York State law.

e While staff-inmate incidents have improved, the Department faces challenges in regards to inmate-on-inmate incidents.
Stabbings and slashings increased by 21 percent while inmate fights increased by 27 percent compared to the same
time period last year. The percentage of the population in a Security Risk Group (SRG) has increased to 14.4 percent,
compared to 12.4 percent last year. Historically, SRG-associated inmates are involved in disproportionately more violent
incidents and were involved in nearly 70 percent of jail incidents during the reporting period in Fiscal 2017. There has
also been an increase in the use of difficult-to-detect titanium and ceramic blades, contributing to more stabbings
and slashings. Challenges related to inmate-inmate interaction have also emerged from the Department's ambitious
new reforms, which include eliminating punitive segregation for adolescents and drastically reducing its usage for the
remainder of the population. On October 11, 2016, it was eliminated for young adults as well. The elimination of
punitive segregation for these populations has contributed to initial spikes in violence. However, as the DOC continues
to develop its therapeutic alternative housing options, the Department expects to see positive outcomes. In an attempt
to offer age-appropriate services and programs to the young adult population, DOC undertook an initiative to house
the majority of young adults in the George Motchan Detention Center (GMDC). Historically, young adults have also
been involved in disproportionately more violent incidents, and as such, this housing structure resulted in higher rates
of violence. The Department is adjusting this model to implement young adult housing only for those who are in lower-
risk classifications, interested in programming and education and/or are in alternative housing units for infractions. For
the remainder, the Department has continued to explore the use of blended housing (a mix of adults and young adults),
which has shown more success in reducing violence. While the number and rate per 1,000 ADP of violent inmate-on-
inmate incidents increased during this time period, the number of serious injuries to inmates as a result of assaults and
fights decreased by nine percent due to the implementation of the Incident Command System (ICS), which has led to
improved response.

e Since the implementation of the Department's anti-violence reform agenda, there has also been a focus on staff training
in behavioral interventions, de-escalation and better response protocols that focus on immediate engagement and
avoiding prolonged physical altercation. These trainings aim to minimize use of force that involves physical altercations,
ensure that use of force is only applied when necessary and assure that the most appropriate means are used to
resolve situations, while reducing risk of injury to staff and inmates alike. Where force is warranted, the Department
uses the least restrictive means possible to achieve compliance; notably, handheld chemical agents. These measures
have resulted in significant reductions in uses of force resulting in serious and minor injury. Compared to the same
time period last year, uses of force with serious injury and uses of force with minor injury per 1,000 ADP declined by
17 percent and 18 percent, respectively. Uses of force with no injury per 1,000 ADP increased by three percent while
total uses of force declined by six percent. DOC has also finalized new use of force policies and trainings in line with

 

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US Department of Justice recommendations. The new policy will be effective in September 2017. During the first four
months of Fiscal 2017, DOC began training staff in the new policy and defensive tactics.

While the number of inmate health clinic visits decreased by only 2.6 percent from the same time period last year, the
average clinic waiting time decreased by 24 percent, from 33 minutes to 25 minutes. In September, the facilities’ clinics
implemented daily shift meetings between DOC and NYC Health + Hospitals (H + H) that enable the communication
of priority as well as the staffing support required, with the goal of identifying the individuals that need to be seen and
ensuring they are seen as quickly as possible. Through these efforts, as well as shifting to a no-escort policy for certain
areas and classifications to go to the clinics, waiting times have improved by 24 percent. In addition to services provided
in the clinic, DOC and H + H continue to focus on developing and expanding collaborative programs that promote
preventive and ongoing care such as the Program to Accelerate Clinical Effectiveness (PACE), Clinical Alternatives to
Punitive Segregation (CAPS), and substance misuse treatment through A Road Not Taken (ARNT).

Through intensive efforts to improve the timely transport of inmates to court, DOC achieved a 10.7 percentage point
improvement in on-time court delivery, up to 98.3 percent. While there have been court production challenges over the
past few years, the Department placed a major focus on production beginning in late Fiscal 2016, dedicating a Bureau
Chief to the initiative. Through improved monitoring of on-trial inmates and communication with facility managers,
surveillance of on-trial inmates and more buses, the Department exceeded its target of 95 percent on-time court
arrivals. During times when it is anticipated that an inmate will be late for a scheduled court appearance, DOC notifies
judges to allow for other business to proceed before the inmate arrives.

A key component of the Department's reform agenda is developing vocational, educational and mental health
programming to improve reentry outcomes. In line with this goal, the Department, in collaboration with the Fortune
Society and Osborne Association, expanded the I-CAN program in October 2015. The program now plays a major role
in the Anna M. Kross Center (AMKC), George R. Vierno Center (GRVC), and GMDC, where staff members have been
added to provide services in newly created I|-CAN housing areas. This expansion has resulted in a 107 percent increase
in enrollments and a 113 percent increase in workshops compared to the same timeframe last year. Higher incident
levels in the Robert N. Davoren Complex (RNDC) and GMDC contributed to a 9.8 percent decrease in the average
daily attendance in school programs. As the Department continues to develop its alternatives to punitive segregation
for the adolescent and young adult populations, incident levels are expected to stabilize, enabling higher daily school
attendance.

Compared to July through October of Fiscal 2016, there was a 153 percent increase in the average daily number
of inmates in vocational skills training programs. This can be attributed to the I-CAN expansion as well as two new
departmental initiatives - Industry Recognized Training (IRT) and Trading Futures. IRT offers adolescents and young
adults certification courses such as OSHA, food handler and CPR, while Trading Futures offers inmates introductory
courses in various trades such as carpentry, cosmetology, culinary arts, and basic electric work. In addition to expanding
programming, the Department is working to ensure that programs are tailored to the age- and health- specific needs of
the populations in custody. Through the housing of young adults in GMDC, the Department has developed program-
specific housing that addresses the unique developmental, educational and vocational needs of young adults. These
housing units offer up to 40 hours per week in programming, such as high school diploma or equivalency education,
higher education, animal training and horticultural education. Individuals in Mental Observation (MO) housing are also
offered clinical and trauma-informed programming including art therapy, pet therapy and acting and writing classes.

 

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SERVICE 1 Provide a safe and secure environment for inmates, staff and host communities.
Ensure the security and safety of inmates in DOC custody.

Performance Indicators

Admissions

Average daily population

Average daily population - adolescent inmates

Inmates in Security Risk Group (% ADP)

Fight/assault infractions

Jail-based arrests of inmates

Searches

Weapons recovered

* Violent inmate-on-inmate incidents (monthly rate per 1,000 ADP)

* Serious injury to inmate(s) as a result of violent inmate-on-inmate incidents (monthly rate
per 1,000 ADP)

%* |nmate assault on staff (monthly rate per 1,000 ADP)
* Serious injury to staff as a result of inmate assault on staff (monthly rate per 1,000 ADP)
* Escapes

* Non-natural deaths of inmates in custody

* Critical Indicator “NA” - means Not Available in this report. = 3 shows desired direction

'CTor-] mle Ensure that use of force is authorized and appropriate.

Performance Indicators

Incidents of use of force - total

Incidents of use of force - adolescent inmates

* Department use of force incidents with serious injury (rate per 1,000 ADP)
Department use of force incidents with minor injury (rate per 1,000 ADP)
Department use of force incidents with no injury (rate per 1,000 ADP)

Incidents and allegations of use of force

x Critical Indicalor “NA” - means Nol Available in this report 3 @ shows desired direction

FY14
77,141
11,408

489

8.2%
8,827

995

251,343
2,348
32.9

1.8
5.9
0.39

FY14
3,779
624
1.18
13.23
13.19
4,221

Provide inmates with timely access to health services.

Performance Indicators

Inmates with a mental health diagnosis (% ADP)
Inmates with a serious mental health diagnosis (% ADP)
Inmate health clinic visits

%*& - Average clinic waiting time (minutes)

* Critical indicator “NA” - means Nol Available in this report % @ shows desired direction

FY14
38.0%
10.2%
77,825

4)

Actual
FY15
67,672
40,240
216
11.8%
9,424
795
255,776
2,240
37.8

2.5
8.6
0.35
0
0

Actual
FY15
4,409
378
1.14
15.59
19.14
4,822

Actual
FY15
41.0%
11.1%
81,873
34

FY16
63,758
9,790
187
13.3%
11,240
1,538
237,757
3,396
47.8

2.5
79
0.20
0
0

FY16
4,756
594
0.66
15.40
24,42
5,269

FY16
42.0%
11.0%
78,499
28

FY17

aee¢es ¢&

FY17

FY17

Target

Target

Target

FY18

oe 62 ¢ 4 6

FY18

FY18

4-Month Actual

FY16
22,081
9,694
181
12.4%
3,562
468
85,060
1,055
48.2

2.8

8.8

0.31
0
0

FY17
19,944
9,744
197
14.4%
4,518
480
78,010
1,507
58.3

2.9
8.8
0,38

4-Month Actual

FY16
1,718
189
0,77
18,29
25.25
1,871

FY17
1,621
282
0.64
14.91
26.04
1,752

4-Month Actual

FY16
42.0%
10.9%
28,084
33

FY17
42.0%
11.0%
27,345
25

 

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(efoy-} Bae] Maximize bed capacity and address cell maintenance and repairs in a timely manner.

Performance Indicators Actual Target 4-Month Actual
FY14 FY15 FY16 FY17 FY18 FY16 FY17

Jail-cells unavailable (short-term repair) (%) 2.8% 2.3% 2.3% 1.0% 1,0% 2.7% 2.1%

%* Population as percent of capacity (%) 86% 80% 80% 96% 96% 77% 82%

* Critical Indicator “NA” - means Not Available in this report 4 0 shows desired direction

(GYey-] iat) Ensure timely transport of inmates to courts throughout the City.

Performance Indicators Actual Target 4-Month Actual
FY14 FY15 FY16 FY17 FY18 FY16 FY17

* On-trial inmates delivered to court on-time (%) 94,2% 90.9% 84.0% 95.0% 95.0% 87.6% 98.3%

* Critical Indicator "NA" - means Not Available in this report 1 & shows desired direction

 

SERVICE 2 Prepare inmates for return to their neighborhoods as civil and contributing members.

Prepare as many inmates as possible for successful release through participation in skills-building programs
including educational! opportunities, jobs training, behavioral interventions and mental health services.

Performance Indicators

FY14
I-CAN Referrals 4117
*|-CAN Enrollments 2,408
I-CAN Workshops 1,580

* Critical Indicator = “NA“ - means Not Available in this report 8 & shows desired direction

enele ) Reduce idleness by increasing inmate participation

and activities.

Performance Indicators

FY14
Average daily number of inmates in vocational skills training programs 216
Average daily attendance in school programs 526
* Inmates participating in skills-building activities/discharge planning (%) 10.3%

* Critical Indicator "NA“ - means Not Available in this report 9 @ shows desired direction

Actual
FY15
3,588
2,321
2,065

Target 4-Month Actual
FY16 FY17 FY18 FY16 FY17
6,194 = * 1,363 NA
4,278 . * 1,019 2,106
6,505 ‘ . 1,522 3,238

in mandated and other programs, services

Actual
FY15
256
330
10.5%

Target 4-Month Actual
FY16 FY17 FY18 FY16 FY17
226 ° 239 605
256 . . 255 230
8.7% 10.0% 10.0% NA NA

 

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SERVICE 3 Provide correction-related services and information to the public.

Provide timely notifications to crime victims.

Performance Indicators

Victim Identification Notification Everyday (VINE) system registrations

VINE confirmed notifications

* Critical Indicator

AGENCY-WIDE MANAGEMENT

Performance Indicators

Collisions involving City vehicles
Workplace injuries reported

Accidents involving inmates

“NA” - means Not Available in this report

3@ shows desired direction

AGENCY CUSTOMER SERVICE

Performance Indicators
Customer Experience

Letters responded to in 14 days (%)

E-mails responded to in 14 days (%)

AGENCY RESOURCES

Resource Indicators

Expenditures ($000,000)
Revenues ($000,000)

Personnel (uniformed)

Personnel (civilian)

Overtime paid ($000,000)
Capital commitments ($000,000)

‘January 2017 Financial Plan

FY14
$1,103.1
$21.8
8,922
1,397
$139.1
$124.8

2Expenditures include all funds

Actual
FY15
$1,162.1
$20.8
8,756
1,491
$196.3
$153.6

Actual
FY14 FY15 FY16
15,291 15,159 15,440
18,445 49,330 21,993
Actual
FY14 FY15 FY16
104 103 107
3,599 2,417 2,222
38 44 43
Actual
FY14 FY15 FY16
99.6% 99.4% 99.3%
100.0% 100.0% 100.0%
Sept. 2016 Updated
MMR Plan Plan
FY16 FY17 FY17!
$1,307.6 $1,392.3 $1,402.5
$22.9 $20.5 $20.5
9,832 10,336 10,336
1,676 2,232 2,238
$275.2 $137.6 $139.4
$81.5 $316.5 $579.8

"NA" - Not Available in this report

Target
FY17 FY18

Target
FY17 FY18

Target
FYI7 FY18

Plan
FY18'
$1,440,8
$20.5
10,420
2,238
$171.4
$989.8

4-Month Actual

FY16 FY17
4,899 5,475
6,710 7,964

4-Month Actual

FY16 FY17
27 31
722 1,045
16 19

4-Month Actual

FY16 FY17
98.1% 100.0%
100.0% 100.0%

4-Month Actual

FY16 FY17
$430.6 $469.3
$7.4 $7.0
9,057 9,477
1,499 1,680
$83.1 $90.8
$7.6 $13.3

 

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NOTEWORTHY CHANGES, ADDITIONS OR DELETIONS ”

e As of September 1, 2016, the Department completed expansion of the |-CAN program and no longer directly refers
inmates to discharge planning services. Service providers now determine eligibility for inmates in the bulk of the jail
population and all inmates in Accelerated Program Unit (APU) housing are referred for I-CAN reentry services. Four-
month Fiscal 2017 referral figures are not yet available. Reporting for I-CAN program referrals will be revised in the
full-year Fiscal 2017 Mayor's Management Report.

ADDITIONAL RESOURCES

e Select annual indicators:
http://www .nyc.gov/site/doc/about/docstatistics.page

 

For more information on the agency, please visit: www.nyc.gov/doc .

 

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